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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA ..,,
INDIANAPOLIS DIVISION ,

 

UNITED STATES OF AMERICA,

 

)

)

Plaintiff, )

V. CAUSE NO.

SHAMONIQUE FERGUSON,

Defendant. 3 > 1 7 -cr-@ 209 WIL -DML
INDICTMENT
The Grand Jury charges that:
General Allegations

At all times relevant to these charges:

1. SHAMONIQUE FERGUSON, the defendant herein, was a resident of
NORTH CAROLINA.

2. “VICTIM 1” is the pseudonym of a female who is an adult, but at all
times relevant to the indictment was less than 20 years old and lived in the
Southern District of Indiana.

3. VICTIM 2 is the pseudonym for the father of VICTIM 1. He also
resides in the Southern District of Indiana.

A. The Internet is a means or facility of interstate of foreign commerce.
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COUNT 1

Stalking
18 U.S.C. § 2261A

5. Paragraphs 1-4 of this Indictment are incorporated by reference into
Count 1.

6. Shamonique FERGUSON, on or between December 1, 2016 and April
11, 2017, did knowingly use the mail, any interactive computer service or electronic
communication service or electronic communication system of interstate commerce,
or any other facility of interstate or foreign commerce, with the intent to kill, injure,
harass, intimidate, and place under surveillance with intent to kill, injure, harass,
or intimidate VICTIM 1 and VICTIM 2, to engage in a course of conduct that (A)
placed VICTIM 1 and VICTIM 2 in reasonable fear of the death of or serious bodily
injury to VICTIM 1 and VICTIM 2, an immediate family member of that person, or
a spouse or intimate partner of that person, and (B) caused, attempted to cause,
and would be reasonably expected to cause substantial emotional distress to
VICTIM 1 and VICTIM 2, an immediate family member of VICTIM 1 and VICTIM
2, or a spouse or intimate partner of VICTIM 1 and VICTIM 2, that is:
Shamonique Ferguson did repeatedly threaten the life of VICTIM 1 using the U.S.
Mail and other commercial mail services, did place VICTIM 1 and VICTIM 2 in
reasonable fear of death or serious bodily injury, and did engage in conduct that did

cause VICTIM 1 and VICTIM 2 to experience substantial emotional distress,

All of which is a violation of 18 U.S.C. § 2261A.
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FORFEITURE

1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United
States hereby notifies the defendant that it will seek forfeiture of property,
criminally and/or civilly, pursuant to Title 18, United States Code, Section 2261A as
part of any sentence imposed.

2. Pursuant to Title 18, United States Code, Section 2261A, if convicted of
the offense set forth in Count 1 of this Indictment, the defendant shall forfeit to the
United States: any property, real or personal, used or intended to be used to
commit or to promote the commission of such offense of which the defendant is
convicted, or any property traceable to such property, such as all computers, storage
media, cameras and electronic equipment taken from her person or residence by law
enforcement officers during the investigation of these offense. It also includes any
property, real or personal, constituting or traceable to gross profits of other proceeds
derived from said offense.

3. The property subject to forfeiture includes, but is not necessarily
limited to all items confiscated from the Defendant on April 18, 2017.

A. The United States shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and as incorporated by
Title 18, United States Code, Section 2261A, if any of the property described above
in paragraph 3, as a result of any act or omission of the defendant:

a. . cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
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c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be
divided without difficulty.
5. In addition, the United States may seek civil forfeiture of the property
described above in paragraph 3 pursuant to Title 18, United States Code, Section

2261A.

A TRUE BILL:

 
   

 

FOREPERSON Vo

JOSH J. MINKLER
United States Attorney

By: [n=

Kristina Marie Korobov
Assistant United State Attorney
